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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

KRISTOPHER C. ROSCHE,

        Plaintiff,
                                                      Case No. 20-cv-178-jdp
   v.

TRUEACCORD CORP.,

        Defendant.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

plaintiff Kristopher C. Rosche against defendant TrueAccord Corp. in the amount of

$1,500.00.




        s/ K. Frederickson, Deputy Clerk                 September 21, 2020
        Peter Oppeneer, Clerk of Court                         Date
